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                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH


DALLIN HAWKINS,

               Plaintiff,                                   MEMORANDUM DECISION
                                                                AND ORDER
                      v.
                                                               Case No. 2:19CV491DAK
SALT LAKE COUNTY JAIL, ET AL.,
                                                               Judge Dale A. Kimball
               Defendants.




       Plaintiff has several pending motions before the court. However, while the court is

screening a Complaint under 28 U.S.C. § 1915A in an action where the Plaintiff is proceeding in

forma pauperis, several of these motions are unnecessary, inappropriate, and premature.

       Plaintiff’s Motion for Release [ECF No. 17] appears to be an attempt to amend Plaintiff’s

Complaint. The motion either alleges new claims or new remedies and thus attempts to amend

the Complaint. Instead of filing a Motion for Release, which is not a motion recognized by the

court, Plaintiff should have filed a Motion for Leave to Amend Complaint. The Motion for

Release, therefore, is DENIED. Because there is no analysis as to why the court should allow

Plaintiff to add this request to Plaintiff’s Complaint, Amended Complaint, or First Amended

Complaint, it would be futile for the court to construe the motion as a motion for leave to file

another amended complaint. However, Plaintiff can file a Motion for Leave to Amend with

respect to this information explaining why and on what basis this information could or should be

added to Plaintiff’s Complaint and the court would consider such a motion.
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       Plaintiff’s Motion for Leave to File an Amended Complaint [ECF No. 24] contains no

analysis and does not identify how or why Plaintiff seeks to amend the original Complaint.

Because it has absolutely no analysis, the motion is DENIED.

       Plaintiff’s motion to waive copy fees [ECF No. 25] is unnecessary while the court is

screening Plaintiff’s Complaint. Plaintiff’s motion to waive copy fees does not ask the court for

copies of anything. When and if the case proceeds past screening, the court may notify Plaintiff

if he is required to pay for copies. Until such time and without a request for copies, Plaintiff’s

motion is MOOT.

       Plaintiff’s Motion for Summary Judgment [ECF No. 26] is premature while the court is

screening Plaintiff’s Complaint. Plaintiff cannot move for summary judgment before any of the

defendants have been served with the Complaint. Accordingly, Plaintiff’s Motion for Summary is

DENIED WITHOUT PREJUDICE as premature. The motion may be filed if there is a basis for

such a motion if and when Defendants are served with the Complaint.

       Plaintiff’s Motion for Entry of Default [ECF No. 28] is similarly premature until the court

determines whether the Complaint has enough merit to be served on Defendants. A party cannot

be in default until a complaint is properly served on the party and the party has failed to respond

within the required time period for doing so. Therefore, Plaintiff’s motion for entry of default is

DENIED.

       Plaintiff’s Motion for Leave to File Requests to Submit for Decision [ECF No. 29] is

unnecessary. Under the court’s local rule DUCivR 7-3, a party can submit a request to submit

for decision when the briefing on a motion has been completed or when the time for such

briefing has expired. Plaintiff does not need to file a motion for leave to file a request to submit

for decision. The requests in this case relate to unnecessary or premature motions for which the
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Defendants have not responded because they have not been served. Therefore, not only is the

motion to leave unnecessary it relates to motions that are unnecessary. Accordingly, the motion

for leave to file such requests is DENIED.

       Plaintiff’s Motion for Service of Process [ECF No. 32] is also DENIED AS MOOT. The

court has already denied a previous motion for service of process that was unnecessary. If, after

the case is screened, it appears that his case has merit and states a claim upon which relief may be

granted, the court may order service of process.

       The court emphasizes to Plaintiff that the filing of these unnecessary motions does not

help his case and delays the court’s ability to address the substance of Plaintiff’s Complaint.

These motions slow down the process. Until the court notifies Plaintiff that it has screened his

Complaint, additional motions are not necessary or advised.

       The court also notes that Plaintiff has filed an original Complaint, an Amended

Complaint, and a First Amended Complaint. The court will review each of these in its screening

process. However, Plaintiff should refrain from filing any further amended complaints without

seeking leave of court to do so.

       DATED this 29th day of September, 2020.

                                              BY THE COURT:




                                              DALE A. KIMBALL
                                              United States District Judge
